                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION - BAY CITY


IN RE:
         TORI L. BRYCE,                                     Case No. 14-20923-dob
                                                            Chapter 13 Proceeding
            Debtor.                                         Hon. Daniel S. Opperman
__________________________________/
TORI L. BRYCE,

         Plaintiff,


v.                                                          Adversary Proceeding
                                                            Case No. 14-2048-dob
CITIMORTGAGE, INC., and FEDERAL
NATIONAL MORTGAGE, d/b/a
FANNIE MAE

      Defendants.
__________________________________/

                OPINION REGARDING DEFENDANTS’ MOTION TO DISMISS

                                     Introduction and Facts

         Before the Court is Defendants Citimortgage, Inc. And National Mortgage Association’s

(collectively, “Defendants”) Motion To Dismiss pursuant to Federal Rule of Civil Procedure

12(b)(6). This adversary proceeding is brought by Plaintiff Debtor Tori L. Bryce to set aside a

foreclosure sale dated September 13, 2013. A hearing was previously held on this Defendant’s

Motion on September 5, 2014, after which the Court issued its Opinion and Scheduling Order on

the Motion on October 16, 2014. The October 16, 2014, Scheduling Order opened discovery and

allowed for supplemental pleadings to be filed on the limited issue of notice as detailed in the

Opinion:




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                At the September 5, 2014, hearing, Plaintiff offered further argument that the
        foreclosure sale notice provided by Defendants was insufficient under applicable
        Michigan foreclosure law.         Accordingly, the Court allowed Defendants the
        opportunity to provide copies of the return service card evidencing the mailing of the
        foreclosure notice, as well as evidence of other communications Plaintiff had with
        Defendants’ counsel’s office indicating her knowledge of the impending foreclosure.
        These documents are refuted by Plaintiff’s self-serving affidavit. Giving Plaintiff
        every benefit, the Court sees a potential narrow issue that needs limited discovery.
        This issue is the actual or constructive notice that Plaintiff received so that the Court
        can determine if this action can continue. Since this issue is narrow, the Court will
        allow discovery on the notice issue for 63 days, and then allow the parties to submit
        additional pleadings supporting their respective positions.

The Scheduling Order also scheduled a hearing for February 20, 2015 on this limited issue. Prior

to the February 20, 2015, hearing, the parties notified the Court of the possibility of Plaintiff

refinancing and that they were attempting to resolve the matter, which temporarily slowed the

progress of this case. This matter was then re-set for hearing for May 21, 2015, after notification

from counsel that the matter was not resolved.

        The facts are sufficiently summarized in this Court’s October 16, 2014, Opinion, and are re-

stated here as the facts are brief and straightforward. Plaintiff granted a first mortgage regarding real

property then owned by her located at 3571 Nort Rd., Bridgeport, Michigan (the “Property”) to

Citizens Bank, which was later assigned to Defendant Citimortgage, Inc. The mortgage was granted

on December 26, 2002, and recorded with the Saginaw County Register of Deeds on February 19,

2003. The Property was sold at foreclosure sale on September 13, 2013, and the Sheriff’s Deed was

thereafter recorded on September 19, 2013. The Property was transferred to Defendant Federal

National Mortgage Association via Quit claim Deed recorded with the Saginaw County Register of

Deeds on October 15, 2013.

        The redemption period expired on March 13, 2014.                Defendants then commenced

proceedings to evict Debtor from the Property , and while such was pending, Debtor filed the instant

Chapter 13 bankruptcy on April 21, 2014. Defendants filed a Motion for Relief from Stay on May

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14, 2014.     This Adversary Proceeding was filed by Debtor on May 27, 2014, seeking a

determination that the foreclosure sale is void for failure to comply with Michigan foreclosure

statutes, violation of the mortgage “contract,” violation of Michigan’s Regulation of Collection

Practices Act, and violation of the Michigan Consumer Protection Act. The Motion for Relief from

Stay and confirmation have both been adjourned to September 17, 2015.

         Defendants filed the instant motion to dismiss asserting that Plaintiff failed to state a claim

upon which relief can be granted pursuant to Rule 12(b)(6), their arguments being that Plaintiff

lacked standing to void this mortgage because the bankruptcy was filed after the redemption period

had expired, and that the Plaintiff had no interest in the property at the time the bankruptcy was

filed.

         Plaintiff responded, asserting that Michigan’s foreclosure statute was not complied with

because the required notice of default and impending sale was not provided or was improperly

provided to her. She asserted that she “received no notice whatsoever of the default, the foreclosure

sale or the subsequent eviction.” Plaintiff supported these assertions with her own affidavit attached

to her response.

         In its October 16, 2014, Opinion, the Court granted Defendants’ Motion, but reserved the

issue of notice, allowing further limited discovery. Specifically, the Court held in its Opinion:

         Plaintiff does not assert the fraud/equitable extension defense under the above-stated
         Michigan statute, MCL 600.5801(1), which would possibly give her five years to
         pursue and challenge a mortgage foreclosure sale. See Hermiz v. Federal Home
         Loan Mortgage Corp. (In re Hermiz), 2013 WL 3353928 (E.D. Mich. July 3, 2013).
         There is no allegation of intentional fraud in Plaintiff’s complaint. Rather, Plaintiff
         indirectly implied in her Complaint that she “never received notice of the pending
         sale,” and that when the subsequent eviction proceeding thereafter ensued, the
         “process server mistakenly” went to the wrong house to serve the Writ of Restitution.
         (Complaint, ¶ 15 and 16). These allegations do not plead fraud, but a mere allegation
         of possible negligence in service of these notices and pleadings. This does not come
         close to the specificity in pleading requirements of Federal Rule of Civil Procedure
         9(b). Thus, because her Complaint does not plead or can be plausibly read to plead

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       the required fraud or irregularity with specificity, the Court concludes that Plaintiff
       has failed to state claims upon which relief can be granted under Rule 12(b)(6).

       On the notice issue, the Court stated in its Opinion:

               At the September 5, 2014, hearing, Plaintiff offered further argument that the
       foreclosure sale notice provided by Defendants was insufficient under applicable
       Michigan foreclosure law.         Accordingly, the Court allowed Defendants the
       opportunity to provide copies of the return service card evidencing the mailing of the
       foreclosure notice, as well as evidence of other communications Plaintiff had with
       Defendants’ counsel’s office indicating her knowledge of the impending foreclosure.
       These documents are refuted by Plaintiff’s self-serving affidavit. Giving Plaintiff
       every benefit, the Court sees a potential narrow issue that needs limited discovery.
       This issue is the actual or constructive notice that Plaintiff received so that the Court
       can determine if this action can continue. Since this issue is narrow, the Court will
       allow discovery on the notice issue for 63 days, and then allow the parties to submit
       additional pleadings supporting their respective positions.

       The parties were allowed ample time to engage in discovery and produce additional proofs

supporting their positions. In particular, Plaintiff has not offered any additional evidence supporting

her position regarding notice and the other relevant issues in this case.

       At the May 21, 2015, hearing, the focus was on the indicated sole remaining issue of notice.

Defendants argued that Plaintiff cannot possibly meet her burden in this case in demonstrating her

lack of notice of the foreclosure sale based upon the pleadings on file with the Court, including the

supplemental documents submitted to the Court by Defendants. Plaintiff argued that while a

signature of a “Tori Bryce” is on the domestic return receipt card, showing receipt of service of

notice of the foreclosure sale, such is not her signature, asserting that someone other than her signed

the acknowledgment of receipt. The parties offered the Court nothing new on this issue other than

argument of counsel at the May 21, 2015, hearing.

                                             Jurisdiction

       This Court has “related to” jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334,

157(c) and E.D. Mich. LR 83.50, as one that is “not a core proceeding but that is otherwise related


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to a case under title 11.”



        The United States Supreme Court has determined that so long as the parties knowingly and

voluntarily consent, Article III allows bankruptcy judges to adjudicate certain claims. Wellness Int’l

Network, Ltd. v. Sharif, 135 S. Ct. 1932 (2015).

        The issues involve purely state law issues concerning state contract law, state law foreclosure

and other state law statutes. Thus, the Court determines this is not a core proceeding, but is related

to a case under title 11. Because the parties have consented to the Court hearing and deciding this

matter, as well as entering appropriate orders and judgments, the Court will proceed in issuing its

Opinion.
                                                 Law

Standard for Motion to Dismiss - Failure to State a Claim

        Federal Rule of Civil Procedure 12(b), applicable in this adversary proceeding through

Federal Rule of Bankruptcy Procedure 7012, states:

        Every defense, in law or fact, to a claim for relief in any pleading, whether a claim,
        counterclaim, cross-claim, or third-party claim, shall be asserted in a responsive
        pleading thereto if one is required, except that the following defenses may at the
        option of the pleader be made by motion: (1) lack of jurisdiction over the subject
        matter, (2) lack of jurisdiction over the person, (3) improper venue, (4) insufficiency
        of process, (5) insufficiency of service of process, (6) failure to state a claim upon
        which relief can be granted, (7) failure to join a party under Rule 19. A motion
        making any of these defenses shall be made before pleading if a further pleading is
        permitted.

        The legal standard for Rule 12(b)(6) is discussed at length in the October 16, 2014, Opinion.

Thus, a short reference to the standard articulated by the United States Supreme Court in the more

recent case of Ashcroft v. Iqbal, 556 U.S.662 (2009), is sufficient. The Iqbal Court defined two

“working principles underl[ying its] decision its previous decision in Bell Atlantic Corp. V.

Twombly, 550 U.S. 544 (2007):

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       First, the tenet that a court must accept as true all of the allegations contained in a
       complaint is inapplicable to legal conclusions. Threadbare recitals of the elements
       of a cause of action, supported by mere conclusory statements, do not suffice. . . .
       Rule 8 marks a notable and generous departure from the hyper-technical, code-
       pleading regime of a prior era, but it does not unlock the doors of discovery for a
       plaintiff armed with nothing more than conclusions. Second, only a complaint that
       states a plausible claim for relief survives a motion to dismiss. . . . Determining
       whether a complaint states a plausible claim for relief will, as the Court of Appeals
       observed, be a context-specific task that requires the reviewing court to draw on its
       judicial experience and common sense. . . . But where the well-pleaded facts do not
       permit the court to infer more than the mere possibility of misconduct, the complaint
       has alleged–but it has not “show[n]” – “that the pleader is entitled to relief.”

Iqbal, 556 U.S. at 678-79 (citations omitted).

       The Court may consider recorded instruments when deciding a Rule 12(b)(6) motion,

including a Sheriff’s Deed, as such are a matter of public record. Commercial Money Ctr., Inc. v.

Illinois Union Ins. Co., 508 F.3d 327, 336 (6th Cir. 2007) (“A court may consider matters of public

record in deciding a motion to dismiss without converting the motion to one for summary

judgment.”).

                                     Analysis and Conclusion

       Notice is presumed valid based upon the record of the foreclosure sale in this case. M.C.L.A.

§ 600.3264 (The recorded affidavits and the record “shall be presumptive evidence of the facts

therein contained.”). It is Plaintiff’s burden to demonstrate an otherwise proper foreclosure by

advertisement should be set aside. Detroit Trust Co. Agozzinio, 280 Mich. 402, 273 N.W. 747

(1937). Plaintiff has offered and continues to offer nothing more than a blanket statement denying

notice, arguing that it is not her signature on the return receipt card. The Court has also examined

the attachments to Defendants’ Motion and Supplemental Motion, including the return receipt card,

the communications prior to and after the foreclosure sale, the Proof of Service and Affidavit of

Mailed Notice showing service on June 25, 2013, the Proof of Publication, the Affidavit of Posting,

and the September 13, 2013, Sheriff’s Deed, among other documents.

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       The allegations raised by Plaintiff as to notice fit the profile described by the Iqbal Court.

Plaintiff’s allegations in this regard are the classic form of “mere conclusory statements.” Plaintiff

has only offered her own self-serving affidavit and statements, which at best offer nothing more than

the “mere possibility” Plaintiff did not have notice of the foreclosure sale.

       The Michigan foreclosure statute is carefully constructed to provide due process of notice

to the mortgagor. To dispute notice without more than a mere allegation does not provide a viable

cause of action at this post-redemption stage. As concluded in this Court’s October 16, 2014,

Opinion, Plaintiff did not plead with sufficient specificity the fraud or irregularity in the service of

notice as required by M.C.L.A. § 600.5801(1) and Federal Rule of Civil Procedure 9(b), as is

required to set aside a foreclosure sale once the statutory redemption period lapses. Plaintiff

continues to fail to state a claim resembling fraud or irregularity beyond mere conclusory

allegations. Accordingly, Defendants’ Motion to Dismiss for failure to state a claim under Rule

12(b)(6) is granted. Defendants shall prepare and present an appropriate order.

Not for Publication
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Signed on August 07, 2015
                                                           /s/ Daniel S. Opperman
                                                         Daniel S. Opperman
                                                         United States Bankruptcy Judge




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